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                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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       EVAN CARNAHAN,                                          Case No. C17-86RSL
10
                             Plaintiff,                        ORDER GRANTING
11
                        v.                                     MOTIONS TO SEAL
12
       ALPHA EPSILON PI FRATERNITY, INC.,
13     et al.,
14
                             Defendants.
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            This matter comes before the Court on the parties’ motions to seal. Dkt. ## 44, 51. The
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     underlying material the parties seek to file under seal concerns information that defendant David
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     Leon claims is protected work product. See Dkt. # 49. Federal Civil Rule 26(b)(5)(B) provides
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     that allegedly protected material may be submitted to the Court under seal while the Court
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     determines whether it is protected. The motions, Dkt. ## 44, 51, are GRANTED. The Court
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     hereby ORDERS that the filings entered at Dkt. ## 45, 53, and 54 shall remain under seal until
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     further order of the Court.
22
23          DATED this 19th day of June, 2018.
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26
                                                     A
                                                     Robert S. Lasnik
27                                                   United States District Judge

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     ORDER GRANTING MOTIONS TO SEAL - 1
